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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                 :
JUAN CARLOS MARTINEZ ROSENDO,
                                                                 :
                                      Plaintiff,                 :   20-CV-4656 (JGK) (OTW)
                                                                 :
                     -against-                                   :          ORDER
                                                                 :
JOHN DOE CORP. d/b/a JIREH TIRE, et al.,                         :
                                                                 :
                                      Defendants.                :
                                                                 :
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         ONA T. WANG, United States Magistrate Judge:

         This matter has been referred to me for Inquest After Default. (ECF 22). Plaintiff and

their counsel submitted Declarations in Support of Proposed findings of Fact and Conclusions of

Law but neither is notarized. By September 15, 2022, Plaintiff is directed to submit notarized

declarations.


         SO ORDERED.



                                                                     s/ Ona T. Wang
Dated: August 10, 2022                                                          Ona T. Wang
       New York, New York                                              United States Magistrate Judge
